            Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 1 of 19




                          UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
LINDA TRUSH                          :
8824 Rising Sun Ave.                 :
Philadelphia, PA 19115               :
                                     :     CIVIL ACTION
               Plaintiff,            :
                                     :     CASE NO.:
       v.                            :
                                     :
CITY OF PHILADELPHIA                 :     JURY TRIAL DEMANDED
1401 JFK Blvd.                       :
Philadelphia, PA 19106               :
                                     :
               Defendant.            :
                                     :

                                 CIVIL ACTION COMPLAINT

       Plaintiff, Linda Trush (hereinafter referred to as “Plaintiff”), by and through her

undersigned counsel, hereby avers as follows:

                                         I. Introduction

       1.       Plaintiff has initiated this action to redress violations by the City of Philadelphia

(hereinafter referred to as “Defendant”) of Title VII of the Civil Rights Act of 1964 ("Title VII" -

42 U.S.C. §§ 2000e, et. seq.), the Americans with Disabilities Act, as amended ("ADA" - 42

USC §§ 12101, et. seq.), and the Pennsylvania Human Relations Act ("PHRA - 43 Pa. C.S. §§

951 et. seq.). Plaintiff asserts herein that she was subjected to a hostile work environment and

unlawfully terminated from her employment with the City of Philadelphia in violation of these

laws and seeks damages as set forth more fully herein.

                                  II.    Jurisdiction and Venue

       2.       This Court may properly maintain personal jurisdiction over Defendant because

Defendant’s contacts with this state and this judicial district are sufficient for the exercise of
             Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 2 of 19




jurisdiction over Defendant to comply with traditional notions of fair play and substantial justice,

satisfying the standard set forth by the United States Supreme Court in International Shoe Co. v.

State of Washington, 326 U.S. 310 (1945) and its progeny.

        3.       This action is initiated pursuant to federal law(s). The United States District Court

for the Eastern District of Pennsylvania has original subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1331 because the claims arise under laws of the United States. This

Court has supplemental jurisdiction over Plaintiff's state-law claims because they arise out of the

same common nucleus of operative facts as her federal claims herein.

        4.       Venue is properly laid in this District pursuant to 28 U.S.C. §§ 1391(b)(1) and

(b)(2), because Defendant resides in and/or conducts business in this judicial district and because

a substantial part of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district.

        5.       Plaintiff is proceeding herein under Title VII and the ADA and has properly

exhausted her administrative remedies with respect to such claims by timely filing a Charge of

Discrimination with the Equal Employment Opportunity Commission (“EEOC”) and by filing

the instant lawsuit within ninety (90) days of receiving a notice of dismissal and/or right to sue

letter from the EEOC. Plaintiff also exhausted her administrative remedies (with respect to her

PHRA claims) because she timely filed Charges with the Pennsylvania Human Relations

Commission (PHRC) and the charges have remained with the PHRC for over one year.

                                            III.   Parties

        6.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        7.       Plaintiff is an adult who resides at the above-captioned address.




                                                   2
             Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 3 of 19




        8.       Defendant is the largest city in the state of Pennsylvania.

        9.       At all times relevant herein, Defendant acted by and through its agents, servants,

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for the benefit of Defendant.

                                    IV.     Factual Background

        10.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        11.      Plaintiff was hired to work for Defendant in or about December of 2010 as an

Administrative Assistant for Defendant’s Councilman, Brian O’Neill (hereinafter “Councilman

O’Neill”).

        12.      For the large majority of Plaintiff’s employment with Defendant, Plaintiff

specifically worked out of Councilman O’Neill’s office located on Bustleton Avenue in

Philadelphia (hereinafter the “Bustleton Office”) and reported directly to Councilman O’Neill.

        13.      Throughout her employment with Defendant, Plaintiff was a dedicated and hard-

working employee and was not subjected to a history of progressive discipline.

        14.      In fact, Plaintiff’s strong work ethic and exemplary performance was praised by

Defendant’s management and evidenced by merit-based salary increases throughout her

employment.

        15.      Despite Plaintiff’s aforesaid excellent performance, her work environment was

tainted by the severe and pervasive sexual harassment that she was subjected to in 2014 by a co-

worker named Henry Shain (hereinafter “Shain”) and the retaliation that followed once she

complained of the same (discussed further infra).




                                                   3
         Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 4 of 19




       16.       In or about 2014, Plaintiff was subjected to several severe and overt acts of sexual

harassment by Shain, including but not limited to:

                     i. On one occasion, Shain came up behind Plaintiff and kissed her face;

                     ii. Shain would come into Plaintiff’s office when she was alone, lock the

                        door and begin rubbing her shoulders, neck and back and make comments

                        to Plaintiff such as “don’t worry, no one will come in, the door is locked,”

                     iii. On another occasion Shain came into Plaintiff’s office, locked the door,

                        and put his hands down Plaintiff’s pants, touching her gentiles; and

                     iv. On one occasion, Shain came into Plaintiff’s office, locked the door, and

                        told Plaintiff to kiss him “down here” (pointing to his penis) and told

                        Plaintiff not to worry about anyone coming in because he had locked the

                        door.

       17.       Plaintiff objected to and refused Shain’s sexual advances and gestures on and

constant basis and threatened to report him. However, Shain would threaten Plaintiff and tell her

“if you report me, trust me you will lose your job over me first. They will believe me, not you.”

       18.       Based on these threats, Plaintiff feared that she would lose her job if she reported

the sexual harassment that she was being subjected to and therefore was forced to continue

working every day in fear regarding what acts of sexual harassment she would be subjected to

next by Shain.

       19.       Plaintiff continued to object and reject Shain’s sexual gestures and advances until

he was moved to a different department in or about 2015.




                                                  4
         Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 5 of 19




       20.     Despite the fact that Shain was moved to a different department in 2015,

Plaintiff’s mental health and self-esteem was severely damaged due to the constant sexual

harassment and threats made by Shain in 2014.

       21.     As a result of the foregoing, Plaintiff began experiencing severe mood swings,

anxiety, episodes of anger and crying, bouts of depression and panic attacks to the point that she

suffered a post-traumatic stress breakdown in or about November of 2016.

       22.     As a result of her aforesaid breakdown, Plaintiff apprised her husband of some of

the sexual harassment that she had been subjected to in 2014 by Shain.

       23.     Upon      learning   that   his   wife   was   subjected   to   inappropriate   sexual

advances/gestures by Shain in 2014, Plaintiff’s husband sent a text to Councilman O’Neill,

which stated in pertinent part as follows:

                         Mr. O’Neill, this is Linda Trush’s husband Glen. I am
                         requesting immediate action to remedy a situation
                         involving Linda. For the past several months she has been
                         behaving oddly at home. Tonight, after repeated episodes
                         of anger and crying she told me why she has been acting
                         oddly and begged me not to report it for fear of losing her
                         position on your staff . . . Back in 2014 . . . her coworker
                         Henry Shane [sic], approached her at her desk and “to
                         comfort her” began to rub her shoulders, neck and back.
                         This happened inside your offices after he would lock the
                         door. This victimization continued until he has transferred
                         to another office. She is afraid of Shane [sic] and would
                         rather die than go back to work with him. Please investigate
                         and take action. Call me if I can help answer any questions.

       24.     Shortly following Plaintiff’s husband’s text message to Councilman O’Neill,

Plaintiff spoke with Councilman O’Neill by phone and provided him with additional details of

Shain’s sexually inappropriate behavior, including additional acts of sexual harassment she was

subjected to by Shain.




                                                   5
          Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 6 of 19




       25.     In response to Plaintiff’s conversation with Councilman O’Neill (discussed in

Paragraph 29 of the instant Civil Action Complaint), Councilman O’Neill referred to Shain as a

“predator who needed to be stopped.” Councilman O’Neill made this comment to both Plaintiff

and her husband.

       26.     Following her report of sexual harassment to her husband and Councilman

O’Neill in November of 2016, Plaintiff requested and took a medical leave of absence from work

to care for and treat for her mental health conditions.

       27.     Plaintiff took approximately three months off from work (a reasonable

accommodation under the ADA) for the reasons discussed supra and returned to work on or

about February 6, 2017.

       28.     On or about February 3, 2017, prior to Plaintiff’s aforesaid return from medical

leave, Plaintiff was contacted by Defendant’s Human Resources (“HR”) representative, Linda

Rios (hereinafter “Rios”) to discuss Plaintiff’s return to work.

       29.     During her telephone call with Rios, Plaintiff asked Rios for confirmation that

Shain had been directed not to come to the Bustleton Office (where Plaintiff had worked for six

years) due to the report of sexual harassment she and her husband had made to Councilman

O’Neill prior to her medical leave. Rios responded stating that she had not yet spoken to Shain

about Plaintiff’s complaint of sexual harassment, nor had Defendant instructed Shain to stay

away from Plaintiff’s work location (even thought Defendant had three months while Plaintiff

was on medical leave to investigate her claims).

       30.     Upon learning that Defendant had not so much as begun investigating her

complaint of sexual harassment, spoke to Shain regarding the same, or instructed Shain to stay




                                                   6
          Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 7 of 19




away from Plaintiff’s physical work location, Plaintiff informed Rios that she did not feel safe or

comfortable returning to the Bustleton Office until Shain was instructed to stay away.

       31.     In response to Plaintiff’s aforesaid safety concerns (discussed in Paragraph 35 of

the instant Civil Action Complaint), Rios informed Plaintiff to report to Councilman O’Neill’s

City Hall office (hereinafter the “City Hall Office”) upon her return to work on February 6, 2017.

       32.     Upon Plaintiff’s return to work from her medical leave of absence on February 6,

2017 – three months after her initial complaint of sexual harassment – Plaintiff met with Rios so

that, according to Rios, she could begin a “formal” internal investigation of her sexual

harassment complaint, per Defendant’s established policies,.

       33.     During her meeting with Rios (discussed supra), Plaintiff gave a detailed report of

the sexual harassment that she had been subjected to by Shain and the negative impact it had on

her mental health.

       34.     Per Defendant’s Sexual Harassment Policy, formal investigations are to be

reduced to writing and signed by the complaining party, but at no time did Rios reduce Plaintiff’s

complaint to writing, ask Plaintiff to reduce her complaint to writing, or ask her to sign any

document memorializing her complaint of sexual harassment.

       35.     The day after Plaintiff’s February 6, 2017 meeting with Rios, Plaintiff received an

email from Rios assigning Plaintiff to the City Hall Office indefinitely until further notice.

       36.     Plaintiff responded to Rios’ email reassigning her to City Hall Office and

expressed that she did not believe it was fair to be reassigned to a less desirable location that was

an hour from her home and informed Rios that she considered Defendant’s decision to transfer

her as “punitive and retaliatory” for having reported sexual harassment (as Defendant could have




                                                  7
           Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 8 of 19




simply instructed Shain not to report to the Bustleton Office and confirmed with Plaintiff that

such instructions had been conveyed).1

        37.      On or about February 9, 2017 and February 15, 2017, Plaintiff provided

Defendant with doctor’s notes from her physician requesting the reason accommodation that she

be permitted to return to the Bustleton Office, where she had worked for six-plus years prior to

going out on leave, as it would have assisted Plaintiff with her transition back to her “regular

work schedule.”

        38.      Plaintiff aforesaid accommodation requests to return to work in the Bustleton

Office were denied and Plaintiff was forced to continue reporting to the City Hall Office.

        39.      In addition her requests to work from the Bustleton Office, Plaintiff’s physician

also identified in the February 9, 2017 note that Plaintiff “will be attending therapy sessions

twice per week until further notice. Appointment times will vary.”

        40.      While working for the City Hall Office, Plaintiff was given virtually no work.

        41.      In addition to being provided with virtually no work while placed at the City Hall

Office, Plaintiff was also treated in a very hostile manner while working there. For example, but

not intending to be an exhaustive list:

                       i. Shortly after being placed to work in the City Hall Office, Plaintiff was

                          informed by Rios that effective immediately, Plaintiff would no longer

                          report to Councilman O’Neill but instead to Alice Udovich (hereinafter

                          “Udovich”), Councilman O’Neill’s Executive Assistant;



1
  Plaintiff had fully explained to Rios during their meeting on February 6, 2017 that the only reason she was afraid
to return to the Bustleton Avenue office is because Rios had told Plaintiff on February 3, 2017 that Defendant had
not spoken to Shain regarding Plaintiff complaints or instructed him to stay away from the Bustle Avenue office.




                                                         8
            Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 9 of 19




                    ii. Defendant’s management refused Plaintiff’s request to have her personal

                      work supplies/items moved to her new work location;

                    iii. Plaintiff was not given an employee access card and therefore was forced

                      to stand in the public security line and ask for a vistor’s pass every day in

                      order to gain entrance to the building;

                    iv. Plaintiff was required to use the public restrooms instead of the employee

                      restrooms because she was not given a key pass;

                    v. Councilman O’Neill refused to have any face-to-face interaction with

                      Plaintiff from the moment she returned from medical leave on February 7,

                      2017 until her unlawful termination (discussed supra), even though she

                      had directly reported to him for six-plus years prior to returning from her

                      aforesaid medical leave; and

                    vi. Plaintiff was supposed to be brought up-to-date on any matters that were

                      left pending when she went on medical leave and Rios specifically

                      instructed Udovich to do so, but this never happened (despite Plaintiff’s

                      repeated requests for said information).

       42.      The hostile work environment that Plaintiff was being subjected to upon her

return from medical leave and complaint of sexual harassment (discussed supra) caused her

significant stress and exacerbated her mental health conditions, such that she continued to take

time off for therapy sessions, doctor’s appointments, and flare ups of her health conditions and

informed Defendant’s management when she needed to be absent from work or leave early for

the same.




                                                9
         Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 10 of 19




       43.     On or about February 24, 2017, Plaintiff sent an email to Udovich informing her

that her health conditions had become exacerbated as a result of being “made to come here to an

unfamiliar office with no supplies and none of my work.” Plaintiff further informed Udovich that

she was upset by the fact that she had reported sexual harassment in November of 2016 and still

had not received an updated status regarding Defendant’s investigation of the same.

       44.     Plaintiff received no response to her February 24, 2017 email to Udovich and

therefore on or about March 2, 2017, Plaintiff sent an email to Rios asking for a status update on

Defendant’s alleged investigation into her complaints of sexual harassment. Plaintiff also

expressed in her email to Rios that she felt there was a significant lack of responsiveness on

Defendant’s part regarding her sexual harassment complaints.

       45.     On March 7, 2017, Plaintiff received a brief letter from Rios informing Plaintiff

that she [Rios] had completed her alleged investigation into Plaintiff’s complaint of sexual

harassment, and without providing any further explanation, stated that Defendant was “unable to

substantiate [Plaintiff’s] allegation against Mr. Shain.”

       46.     Approximately one week following Rios’s March 7, 2017 letter (discussed supra),

Councilman O’Neill sent Plaintiff an email on or about March 15, 2017 and informed her that

she was being permanently assigned to work at the City Hall Office in the legislative affairs

department (a department that Plaintiff had no experience with), and that she would permanently

be reporting to Udovich.

       47.     Plaintiff was informed that she was receive training from Udovich as it pertained

to her new role with the legislative affairs department, but this never happened.

       48.     On or about March 16, 2017, Plaintiff responded to Councilman O’Neill’s email

expressing that she was upset at the permanent change in her work location and duties and that




                                                 10
         Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 11 of 19




she believed these adverse actions were taken in retaliation and as a “direct result of the

complaint I brought forward against a male coworker and associate of yours.”

       49.     Plaintiff also asked Councilman O’Neill in her March 16, 2017 response email to

reconsider his decision – taking into account her health conditions and doctor’s

recommendations - and return her to her regular work location and duties.

       50.     Plaintiff’s request for Councilman O’Neill to reconsider his discriminatory and

retaliatory decision of permanently reassigning Plaintiff to the City Hall Office was denied and

instead, Plaintiff was chastised for taking time off to care for and treat for her health conditions

and essentially told that the only thing he [Councilman O’Neill] would do to accommodate her

disabilities would be to reduce her down to part-time.

       51.     Therefore, Plaintiff was forced to continue working at City Hall, being subjected

to constant hostility, animosity, and retaliation by Defendant.

       52.     The hostile work environment that Plaintiff was subjected to following her

complaint of sexual harassment reached its zenith on or about April 11, 2017 when she was

approached by Udovich (acting on behalf of Councilman O’Neill) and given a termination letter

from Councilman O’Neill in which he stated that he was thankful for Plaintiff’s years of service

to the citizens of Philadelphia, but that following “an internal staff review,” he was terminating

her employment effective immediately.

       53.     Upon receipt of her termination letter (discussed supra), Plaintiff expressed her

confusion with Defendant’s decision to terminate her employment, stated that she had done

nothing to warrant being fired, and asked Udovich why she was being terminated after years of

dedicated service.




                                                11
           Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 12 of 19




          54.    In response to Plaintiff’s question as to why she was being terminated from her

employment with Defendant, Udovich stated “you know why.” When Plaintiff expressed that she

did not understand what Udovich meant, Udovich responded by stating “maybe you shouldn’t

have made a complaint.”

          55.    In the same conversation on April 11, 2017, Udovich proceeded to accuse

Plaintiff of coming and going as she pleased – which was not true. Plaintiff had only missed time

intermittently from work to care for and treat for her aforesaid mental health conditions (which

were being exacerbated by the hostile work environment that Defendant was subjecting her to).2

          56.    Following her termination from Defendant, Plaintiff was informed by the

Pennsylvania Department of Labor’s Unemployment Division that the reason Defendant claimed

it terminate her employment was “Lack of Work.”

          57.    If Defendant had truly been cutting staff pursuant to an internal staff review or

due to lack of work, it is averred that there were several employees who had less seniority,

experience, and qualifications than Plaintiff who could have been terminated instead of Plaintiff.

          58.    Upon information and belief, Shain is still employed with Councilman O’Neill’s

office.

          59.    Based on the foregoing, Plaintiff believes and therefore avers that she was

subjected to hostile work environment and terminated in violation of Title VII and the ADA.

                                               Count I
                Violations of Title VII of the Civil Rights Act of 1964 ("Title VII")
                                             (Retaliation)

          60.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

2
 For example, Plaintiff produced several doctor’s notes in February and March explaining that she was missing
work due to stress, anxiety, depression.



                                                       12
         Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 13 of 19




        61.    Plaintiff believes and therefore avers that she was subjected to a hostile work

environment, permanently assigned to a different office location under a different department

and different management (despite her requests otherwise), and ultimately terminated because of

her complaint of sexual harassment.

        62.    These actions as aforesaid constitute violations of Title VII.

                                           Count II
               Violations of the Pennsylvania Human Relations Act (“PHRA”)
                                         (Retaliation)

        63.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        64.    Plaintiff re-asserts the same claims as set forth in Count I herein, as they

constitute the same violations of the Pennsylvania Human Relations Act (“PHRA”), which is the

state equivalent of such laws interpreted and analyzed in the same manner in the Third Circuit.

                                         Count III
         Violations of the Americans with Disabilities Act, as Amended ("ADAAA")
         ([1] Actual/Perceived/Record of Disability Discrimination; [2] Retaliation;
               [3] Hostile Work Environment & [4] Failure to Accommodate)


        65.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        66.    Plaintiff requested several accommodations for her aforesaid mental health

conditions during the last approximate six months of her employment with Defendant, including

but not limited to:

                      i. A block medical leave of absence from November of 2016 through

                        February of 2017;




                                                13
          Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 14 of 19




                    ii. The ability to work at her original work location (the Bustleton Office) as

                       opposed to the City Hall Office; and

                    iii. The ability to take intermittent time off from worked (including full-day

                       absences and leaving work early on occasion) to attend therapy sessions,

                       doctor’s appointments and/or when she was experiencing flare ups of her

                       aforementioned mental health conditions.

        67.     While Plaintiff was granted some accommodations, others were denied by

Defendant without first engaging in any interactive dialogue.

        68.     Furthermore, Plaintiff was subjected to retaliation in response to her requested

medical accommodations (including but not limited to alluding that Plaintiff was terminated in

part for taking time off from work related to her disabilities).

        69.     Plaintiff believes and therefore avers that she was subjected to a hostile work

environment and terminated because of: (1) her known and/or perceived health problems; (2) her

record of impairment; (3) her requested accommodations (which constituted protected activities);

and/or (4) Defendant’s refusal to engage in the interactive process and accommodate Plaintiff’s

disabilities.

        70.     Defendant’s unlawful discrimination and retaliation constitutes violations of the

ADAAA.

                                           Count IV
                Violations of the Pennsylvania Human Relations Act (“PHRA”)
                                          (Retaliation)

        71.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




                                                 14
         Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 15 of 19




        72.     Plaintiff re-asserts the same claims as set forth in Count III herein, as they

constitute the same violations of the Pennsylvania Human Relations Act (“PHRA”), which is the

state equivalent of such laws interpreted and analyzed in the same manner in the Third Circuit.

        WHEREFORE, Plaintiff prays that this Court enter an order providing that:

        A.      Defendant is to be prohibited from continuing to maintain its illegal policy,

practice, or custom of retaliating against employees and is to be ordered to promulgate an

effective policy against such discrimination/retaliation and to adhere thereto (awarding Plaintiff

such injunctive and/or equitable relief);

        B.      Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendant’s illegal actions, including but not limited to back pay, front pay, bonuses and medical

and other benefits. Plaintiff should be accorded those benefits illegally withheld from the date

she first suffered discrimination or retaliation at the hands of Defendant until the date of verdict

(in addition to front pay or other equitable relief);

        C.      Plaintiff is to be accorded any and all other equitable and legal relief as the Court

deems just, proper, and appropriate (including but not limited to emotional distress/pain and

suffering damages - where permitted under applicable law(s)).

        D.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

legal fees as provided by applicable federal and state law;

        E.      Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth in

applicable federal law;




                                                  15
        Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 16 of 19




       F.     Plaintiff’s claims are to receive a trial by jury to the extent allowed by applicable

law. Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b).

                                                    Respectfully submitted,

                                                    KARPF, KARPF & CERUTTI, P.C.



                                                    Ari R. Karpf, Esquire
                                                    3331 Street Road
                                                    Building 2, Suite 128
                                                    Bensalem, PA 19020
                                                    (215) 639-0801
Dated: July 21, 2021




                                               16
 Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 17 of 19




     ================iáåÇ~=qêìëÜ


        `áíó=çÑ=mÜáä~ÇÉäéÜá~




TLONLOMON
                             Case 2:21-cv-03254-RBS
                                                UNITEDDocument   1 Filed
                                                       STATES DISTRICT   07/21/21 Page 18 of 19
                                                                       COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                       UUOQ=oáëáåÖ=pìå=^îÉåìÉI=mÜáä~ÇÉäéÜá~I=m^=NVNNR
Address of Plaintiff: ______________________________________________________________________________________________
                       NQMN=gch=_äîÇI=mÜáä~ÇÉäéÜá~I=m^=NVNMS
Address of Defendant: ____________________________________________________________________________________________
                                             aÉÑÉåÇ~åíë=éä~ÅÉ=çÑ=ÄìëáåÉëë
Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
          TLONLOMON
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


         TLONLOMON
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
                                   Case 2:21-cv-03254-RBS Document 1 Filed 07/21/21 Page 19 of 19
JS 44 (Rev. 06/17)                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS

qorpeI=ifka^                                                                                               `fqv=lc=mefi^abimef^
  (b) County of Residence of First Listed Plaintiff                 mÜáä~ÇÉäéÜá~                            County of Residence of First Listed Defendant                mÜáä~ÇÉäéÜá~
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
h~êéÑI=h~êéÑ=C=`ÉêìííáI=mK`KX=PPPN=píêÉÉí=oç~ÇI=qïç=dêÉÉåïççÇ=pèì~êÉI
pìáíÉ=NOUI=_Éåë~äÉãI=m^=NVMOMX=EONRF=SPVJMUMNX=~â~êéÑ]â~êéÑJä~ïKÅçã

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif f
                                                                                                       (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3 Federal Question                                                                       PTF           DEF                                            PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                     Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                           of Business In This State

❒ 2    U.S. Government                 ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                           (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                  Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY            ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’ 310 Airplane                  ❒ 365 Personal Injury -            of Property 21 USC 881            ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’ 315 Airplane Product                Product Liability      ❒ 690 Other                                     28 USC 157                        3729(a))
❒   140 Negotiable Instrument               Liability                ❒ 367 Health Care/                                                                                     ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’ 320 Assault, Libel &                Pharmaceutical                                                     PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment           Slander                        Personal Injury                                                ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’ 330 Federal Employers’              Product Liability                                              ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted               Liability                ❒ 368 Asbestos Personal                                              ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’ 340 Marine                          Injury Product                                                        New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’ 345 Marine Product                  Liability                                                      ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                        LABOR                         SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’ 350 Motor Vehicle             ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’ 355 Motor Vehicle             ❒ 371 Truth in Lending               Act                             ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                     Product Liability         ❒ 380 Other Personal         ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’ 360 Other Personal                  Property Damage                Relations                       ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                          Injury                    ❒ 385 Property Damage        ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’ 362 Personal Injury -               Product Liability       ’ 751 Family and Medical                                                 ❒ 893 Environmental Matters
                                           Medical Malpractice                                            Leave Act                                                         ❒ 895 Freedom of Information
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS          ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation            ❒ 440 Other Civil Rights          Habeas Corpus:             ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                  ❒ 441 Voting                    ❒ 463 Alien Detainee                Income Security Act                     or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒ 442 Employment                ❒ 510 Motions to Vacate                                              ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                ❒ 443 Housing/                        Sentence                                                              26 USC 7609                       Agency Decision
❒   245 Tort Product Liability             Accommodations            ❒ 530 General                                                                                          ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒ 445 Amer. w/Disabilities -
                                     u                               ❒ 535 Death Penalty                IMMIGRATION                                                                State Statutes
                                           Employment                  Other:                     ❒ 462 Naturalization Application
                                     ❒ 446 Amer. w/Disabilities -    ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                           Other                     ❒ 550 Civil Rights                 Actions
                                     ❒ 448 Education                 ❒ 555 Prison Condition
                                                                     ❒ 560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                          ❒    3    Remanded from             ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                   ❒ 8 Multidistrict
        Proceeding                State Court                       Appellate Court               Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                          (specify)                      Transfer                         Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                       ^a^=EQOrp`NONMNFX=qáíäÉ=sff=EQOrp`OMMMF
VI. CAUSE OF ACTION Brief description of cause:
                      sáçä~íáçåë=çÑ=íÜÉ=^a^I=qáíäÉ=sff=~åÇ=íÜÉ=meo^K
VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION         DEMAND $                                                                              CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                    JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                                                                                             DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
         TLONLOMON
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                               MAG. JUDGE

                  Print                               Save As...                                                                                                                   Reset
